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           Exhibit D
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November 15, 2016
                                                                 ADOPTED
The Honorable Board of Supervisors                               BOARD OF SUPERVISORS
County of Los Angeles                                            COUNTY OF LOS ANGELES
383 Kenneth Hahn Hall of Administration
500 West Temple Street                                           14 November 15, 2016
Los Angeles, California 90012

Dear Supervisors:
                                                                         LORI GLASGOW
                                                                       EXECUTIVE OFFICER
                                   LEASE AMENDMENT
                         DEPARTMENT OF PUBLIC SOCIAL SERVICES
                          3216 ROSEMEAD BOULEVARD, EL MONTE
                                    (FIRST DISTRICT)
                                        (3 VOTES)

SUBJECT

A five-year lease amendment for renewal of approximately 41,836 square feet of office space, and
167 on-site parking spaces for the Department of Public Social Services.

IT IS RECOMMENDED THAT THE BOARD:
1. Find that the proposed lease amendment is categorically exempt from the provisions of the
California Environmental Quality Act, pursuant to Class 1 of the Environmental Document Reporting
Procedures and Guidelines adopted by the Board of Supervisors, per Section 15301 of the State of
California Environmental Quality Act Guidelines (Existing Facilities).

2. Approve and instruct the Chair to sign the five-year lease amendment with M & A Gabaee, a
California Limited Partnership, for the renewal of approximately 41,836 square feet of office space,
and 167 on-site parking spaces located at 3216 Rosemead Boulevard, El Monte, for the Department
of Public Social Services, at an annual first year base rent not to exceed $928,759.20. The costs for
the Department of Public Social Services are approximately 91 percent funded from State and
federal funds, and nine percent is net County cost.
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3. Authorize and direct the Chief Executive Officer, or her designee, to execute any other ancillary
documentation necessary to effectuate the lease amendment, and authorize the Chief Executive
Officer and the Director of Public Social Services or their designees to take actions necessary and
appropriate to implement the project. The lease amendment will be effective upon approval by the
Board of Supervisors, and expire five years thereafter.


PURPOSE/JUSTIFICATION OF RECOMMENDED ACTION
The building at 3216 Rosemead Boulevard, El Monte, will continue to house the Department of
Public Social Services¶(DPSS) Greater Avenues for Independence (GAIN) Program, together with
the County¶s GAIN Program, MIE, and CalWorks Programs next door located at 3220 Rosemead
Blvd., El Monte, under Lease No. 71378, which will allow DPSS to provide uninterrupted
employment-related services to the residents of San Gabriel Valley and the adjacent communities.
Supervisors and support staff have been in the facility continuously since 1999. GAIN is a direct-
service program. This lease amendment will renew the lease, which has been on holdover since
July 12, 2015, while negotiating with the Lessor to provide at his sole cost, interior improvements to
the reasonable satisfaction of the County, and will commence upon approval by the Board of
Supervisors.

Implementation of Strategic Plan Goals
The Countywide Strategic Plan Goal of Community Support and Responsiveness (Goal 2) directs
that we enrich lives of Los Angeles County residents by providing enhanced services, and effectively
planning and responding to economic, social, and environmental challenges. The proposed lease
amendment is in conformance with the Asset Management Principles, as further outlined in
Attachment A.

FISCAL IMPACT/FINANCING

The first year lease cost for the proposed lease amendment will be approximately $77,396.60 per
month ($1.85 per square foot) or $928,759.20 annually. The total base rental cost will be 91 percent
subvened from State and federal funds, and nine percent is net County cost. The five-year term rent
will be approximately $4,643,796, subject to annual adjustment capped at $2,321.89 per month, or
approximately three percent per year. The cost after subvention over the term will be approximately
$417,941.64.

Sufficient funding for the proposed lease renewal costs is included in the Fiscal Year (FY) 2016-17
Rent Expense budget, and will be billed back to DPSS. DPSS has sufficient funds in their
FY 2016-17 operating budget to cover the lease renewal costs. Attachment B is an overview of the
proposed lease renewal costs.

FACTS AND PROVISIONS/LEGAL REQUIREMENTS

The proposed lease amendment includes the following provisions:

The term commences upon the Board of Supervisors¶approval, and expires five years thereafter.

There is a termination provision allowing the County the right to cancel the lease effective at or any
time after the 36th month of the amended lease term by giving 90 days prior written notice.
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The proposed lease amendment includes 167 on-site parking spaces.

This is a full-service lease whereby M & A Gabaee, a California Limited Partnership (Lessor), is
responsible for all maintenance costs.

The base rent is subject to annual adjustments according to the Consumer Price Index (CPI) not to
exceed $2,321.89 per month (approximately 3 percent per year).

Upon approval of the lease amendment, the Lessor will provide, at its sole cost, interior
improvements to the reasonable satisfaction of the County, as described in Amendment No. 1 and
depicted on Exhibit A of Amendment No. 1 for the premises.

The Department of Public Works has inspected this facility and finds it suitable for the County¶s
continued occupancy. Notification letters have been sent pursuant to Government Code Sections
25351 and 65402.

County Counsel has reviewed the proposed lease amendment and has approved it as to form.

The Chief Executive Office (CEO) Real Estate Division staff surveyed the El Monte area as specified
by DPSS, in order to maintain close proximity within the service area. Staff was unable to identify
any sites in the surveyed area that could accommodate the requirement more economically at this
time. Attachment C shows all County-owned and leased facilities within a five-mile radius of the
subject facilities, and there are no County-owned or leased facilities available for the programs.

Staff expanded its search to surrounding areas and based upon this market survey of properties in
the surrounding areas, a full-rental range including parking for office properties is between $22.80
and $27.60 per square foot, per year, full-service. The proposed lease amendment provides a base
annual rent of $22.20 per square foot, which represents a rate below the market range for the area.

The proposed lease amendment will provide continued occupancy in a convenient and appropriate
location, which is consistent with the County¶s Facility Location Policy, adopted by the Board of
Supervisors on July 24, 2012, as outlined in Attachment D.

ENVIRONMENTAL DOCUMENTATION

This proposed lease amendment is exempt from the California Environmental Quality Act (CEQA),
as specified in Class 1 of the Environmental Document Reporting Procedures and Guidelines
adopted by the Board of Supervisors, and Section 15301 of the State CEQA Guidelines (Existing
Facilities).

IMPACT ON CURRENT SERVICES (OR PROJECTS)

The proposed lease amendment will provide the necessary office space for this County requirement.
DPSS concurs with this recommendation.
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CONCLUSION

It is requested that the Executive Office, Board of Supervisors, return two originals of the executed
lease amendments, two certified copies of the Minute Order, and the adopted, stamped Board letter
to the CEO, Real Estate Division, 222 South Hill Street, Los Angeles, CA 90012 for further
processing.

Respectfully submitted,




SACHI A. HAMAI
Chief Executive Officer


SAH:DPH:CMM
SH:JT:ns

Enclosures

c:   Executive Office, Board of Supervisors
     County Counsel
     Auditor Controller
     Public Social Services
     Public Works
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                                                   #:3910
                                                                                                              ATTACHMENT A


                              DEPARTMENT OF PUBLIC SOCIAL SERVICES
                                 3216 Rosemead Boulevard, El Monte
                                                                                                  1
                                   Asset Management Principles Compliance Form

1.   Occupancy                                                                                            Yes    No   N/A
                                                                  2
     A   Does the lease consolidate administrative functions? 3220 Rosemead Blvd. – GAIN
                                                                                                          X
         Program, MIE, and CalWorks Programs)

     B   Does the lease co-locate with other functions to better serve clients? 2 (Child Care
                                                                                                          X
         Resources & Referral, Clinical Assessors, and Managed Care Solutions)

     C   Does the lease centralize business support functions?2                                                        X
                                                                                 2
     D   Does the lease meet the guideline of 200 sq. ft of space per person?
                                                                                                          X

     E   Does the lease meet the 4/1000 sq.ft. parking ratio quideline?2                                  X

     F   Does public parking and mass-transit exist to facilitate employee, client and visitor
                                                                                                          X
         access to the proposed lease locations?2

2.   Capital

     A   Is it a substantial net County cost (NCC) program? 91 percent State and federal
                                                                                                                  X
         Funding in 2016.

     B   Is this a long term County program?                                                              X

     C   If yes to 2 B or C; is it a capital lease or an operating lease with an option to buy?                   X

     D   If no, are there any suitable County-owned facilities available?                                         X

     E   If yes, why is lease being recommended over occupancy in County-owned space?                                  X

     F   Is Building Description Report attached as Attachment C?                                         X

     G   Was build-to-suit or capital project considered?                                                         X

3.   Portfolio Management

     A   Did department utilize CEO Space Request Evaluation (SRE)?                                       X

     B   Was the space need justified?                                                                    X

     C   If a renewal lease, was co-location with other County departments considered?                            X

     D   Why was this program not co-located?

         1.          The program clientele requires a “stand alone” facility.

         2.          No suitable County occupied properties in project area.

         3.        No County-owned facilities available for the project.

         4.          Could not get City clearance or approval.

         5.    X      The Program is being co-located. See 1B.

     E   Is lease a full service lease?2                                                                  X

     F   Has growth projection been considered in space request?                                          X

     G   Has the Dept. of Public Works completed seismic review/approval?                                 X
         1
          As approved by the Board of Supervisors 11/17/98

         2If not, why not?                 Please bold any written responses.
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                                                                                     ATTACHMENT B


                                FISCAL IMPACT / FINANCING
                          3216 ROSEMEAD BOULEVARD, EL MONTE
                              OVERVIEW OF LEASE CHANGES



3216   ROSEMEAD
                EXISTING LEASE                         FIVE-YEAR  LEASE
BOULEVARD,   EL                                                         CHANGE
                NO. 72387                              AMENDMENT NO.1
MONTE
Area (square feet)          41,836                     41,836                         None
Term                        09/07/99 – 7/12/15         Upon Board approval            +Five years
                            On Month to Month
Annual Base Rent            $939,112.08                $928,759.20                    -$10,352.88
Annual Operating            None                       None                           None
Expense Rent
Tenant Improvement          None                       None                           None
Reimbursement
Maximum Existing/ First     $939,112.08                $928,759.20                    -$10,352.88
Year Rent
Parking                     167 parking spaces         167 parking spaces             None
                                                                             th                            th
Termination                 End of the fifth year by   Any time after the 36          Any time after the 36
                            the County                 month of Amendment             month of Amendment
                                                       No.1 Lease term                No.1 Lease term
Option to Renew             One option to renew for    None                           No option to renew
                            five years                 This is an exercise of an
                                                       option without the right to
                                                       renew.
Rental Adjustment           Annual CPI adjustment      Annual CPI adjustment          Annual CPI
                            capped at 3 percent of     capped at $2,321.89 per        adjustment capped at
                            Base Rent.                 month (approx’ly 3%)           $2,321.89 per month
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                                                                                                ATTACHMENT C

                      SPACE SEARCH – WITHIN A FIVE MILE RADIUS FOR COMPARABLE SIZE SPACE
                                    DEPARTMENT OF PUBLIC SOCIAL SERVICES
                                       3216 Rosemead Boulevard, El Monte


                                                                                                                    SQFT
                                                                                      GROSS     NET       BLDG      AVAIL
LACO   FACILITY NAME                    ADDRESS                           OWNERSHIP   SQFT      SQFT      USE       ABLE


       San Gabriel Valley Family
A493                                    3350 Aerojet Ave El Monte         Leased      120,000   108,000   Office    None
       Service Center I
       San Gabriel Valley Family                                                                          Service
A554                                    3400 Aerojet Ave El Monte         Leased      131,806   120,000             None
       Service Center II                                                                                  Center
       DPSS - Administrative            12860 Crossroads Pkwy S City Of
A130                                                                      Leased      55,000    41,943    Office    None
       Headquarters                     Industry
6144   Maclaren Children's Center       4024 N Durfee Ave El Monte        Owned       71,733    39,095    Office    None
       DHS - El Monte Comprehensive                                                                       Interm.
Y467                                    10953 Ramona Blvd El Monte        Financed    90,149    49,537              None
       Health Center                                                                                      Care
       DPSS - San Gabriel Valley Gain
A497                                    3216 Rosemead Blvd El Monte       Leased      41,836    39,744    Office    None
       Program Reg III
       Thomas A. Tidemanson Public
X900                                    900 S Fremont Ave Alhambra        Financed    536,168   363,876   Office    None
       Works Building
       Thomas A. Tidemanson Building
0122                                    900 S Fremont Ave Alhambra        Financed    43,500    36,945    Office    None
       - Annex Building
                                                                                                                    None
A522   Telstar El Monte County Center   9320 Telstar Ave El Monte         Leased      163,000   146,700   Office
       DPSS–Administrative              12820 Crossroads Pkwy South
A507                                                                      Leased      33,331    28,331    Office    None
       Headquarters West Annex          City of Industry
       DPSS-Administrative              12900 Crossroads Pkwy South
B002                                                                      Leased      34,245    31,420    Office    None
       Headquarters East Annex           City of Industry
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                                                                        ATTACHMENT D

                       FACILITY LOCATION POLICY ANALYSIS


•   Proposed Lease Agreement: Amendment No.1 to renew lease for a 5-year term
    for the Department of Public Social Services (DPSS) at 3216 Rosemead Boulevard,
    El Monte in the 1st Supervisorial District. County has the right to cancel any time
    after the 36th month of the lease amendment term by giving the Lessor 90 days prior
    written notice

    A. Establish Service Function Category – The space will continue to house the
       Greater Avenues for Independence (GAIN) program. GAIN is a direct-service
       program.

       Determination of the Service Area –The proposed lease amendment will allow
       DPSS to continue its operations at the subject facility where it has been since
       1999.

    B. Apply Location Selection Criteria to Service Area Data

       •   Need for proximity to service area and population: Yes, needs to be
           accessible to residents of San Gabriel Valley and adjacent communities.

       •   Need for proximity to existing County facilities: No

       •   Need for proximity to Los Angeles Civic Center: No

       •   Economic Development Potential: N/A

       •   Proximity to public transportation: The location is conveniently located near
           public transportation.

       •   Availability of affordable housing for County employees: The surrounding area
           provides for affordable rental opportunities.

       •   Use of historic buildings: N/A

       •
       •   Availability and compatibility of existing buildings: There are no existing
           County buildings available to meet the Department’s service needs.

       •   Compatibility with local land use plans: The Department of Public Works
           previously inspected the facilities and its recommendation concluded the
           facilities met the requirements for County occupancy. Notification letters have
           been sent pursuant to Government Code Sections 25351 and 65402.
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   C. Estimated acquisition/construction and ongoing operational costs

      The initial annual base rent of $928,759.20, comprises the total annual lease rent
      for the facility. The five-year term rent will be approximately $4,643,796 subject to
      annual adjustment capped at $2,321.89 per month, or approximately 3 percent
      per year. The cost after subvention over the term will be approximately
      $417,941.64. Sufficient funding for the proposed lease is included in the Fiscal
      year (FY) 2016-17 Rent Expense Budget and will be charged back to DPSS.
      DPSS has sufficient funding in its FY 2016-17 operating budget. Proposed lease
      costs are currently 91 percent funded by federal and State subvention and 9
      percent is County cost. Attachment B is an overview of the lease costs.

   D. Analyze results and identify location alternatives

      The Chief Executive Office (CEO) Real Estate Division (RED) conducted a
      market survey of properties within the project area to determine the availability of
      comparable and more economical sites. Based upon this market survey of
      properties in the El Monte surrounding areas, a base rental range including
      parking for office properties is between $22.80 and $27.60 per square foot per
      year full-service. The proposed lease renewal terms provide a base annual rent
      of $22.20 per square foot, which represents a rental rate below the market range.
      The proposed facility provides the most viable space to house DPSS’s program
      at this time. Attachment C shows County-owned and leased facilities within a
      five-mile radius of the existing site for this program and none are available to
      house this program.

   E. Determine benefits and drawbacks of each alternative based upon
      functional needs, service area, cost and other Location Selection Criteria

      This program is anticipated to continue in the long-term; therefore, the space that
      is currently occupied will not change.
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                      AMENDMENT NO. I TO LEASE NO. 72387
                    DEPARTMENT OF PUBLIC SOCIAL SERVICES
                     3216 ROSEMEAD BOULEVARD, EL MONTE

 This Amendment No. 1 to Lease No. 72387 (“Amendment” or ~Amendment No. 1”) is
 made and entered into this 15th             November
                                     day of _____________________,
                            ___________                             2016, by and
 between M & A Gabaee, a California Limited Partnership, hereafter referred to as
 “Lessor” and COUNTY OF LOS ANGELES, a body politic and corporate, hereinafter
 referred to as “Lessee.”

                                        RECITALS:

        WHEREAS, Lessor and Lessee entered into Lease No. 72387 which was
 adopted by the County of Los Angeles Board of Supervisors on September 7, 1999, and
 commenced on July 5, 2000, and pursuant to which Lessor leased to Lessee those
 certain premises (“Premises”) located in the Building at 3216 Rosemead Boulevard,
 El Monte, (“Building”) more particularly described as approximately 41,836 rentable
 square feet of office space consisting of the entire Building; and

        WHEREAS, the Lease was renewed for a five-year term commencing with an
 exercise of a lease option to renew by the County of Los Angeles Board of Supervisors




                                                                                               72387 Supplement No. 1
 on July 13, 2010, and expired on July 12, 2015, and Lessee currently occupies the
 Premises on a month-to-month holdover; and

       WHEREAS, the parties now wish to amend the Lease in certain respects,

         NOW, THEREFORE, in consideration of the foregoing recitals, which are hereby
 deemed a contractual part hereof and other good and valuable consideration, the
 receipt and sufficiency of which are hereby acknowledged, the parties hereto agree that
 the following amendments are effective upon the date first above written:

 1.     Paragraph 2 of the Lease is amended by insertion of the following:

         2. (C) First Amended Term: The term of the Lease pursuant to Amendment No.
 1 shall be for a period of five (5) years, beginning on the first day of the first calendar
 month following execution of Amendment No. 1 by the Board of Supervisors and ending
 sixty (60) months thereafter (the “First Amended Term”).

 2.      Paragraph 3 of the Lease is amended by insertion of the following:

       RENT: During the First Amended Term, Lessee hereby agrees to pay as rent for
 the Premises during the term hereof the sum of Seventy-Seven Thousand Three
 Hundred Ninety-Six and 60/100 Dollars ($77,396.60) per month or $1.85 per rentable
 square foot per month. Lessee shall pay Lessor all rent and other payments due to
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Lessor hereunder (including, without limitation, rent during the Term hereof, within
fifteen (1 5) days after a claim therefor for each such month has been filed by Lessor
with the Auditor of the County of Los Angeles (the “County”) prior to the first day of each
month. Rent for any partial month shall be prorated in proportion to the number of days
in such month. Commencing on the first calendar anniversary of the commencement of
the Extended Term, and on each calendar anniversary thereafter, the monthly rent as
set forth above shall be increased in accordance with the provisions of Paragraph 19 of
the Lease using $77,396.60 as the new monthly base rent number when calculating the
annual adjustment. In addition, the new base index shall be the index published for the
month the lease commences, and the new maximum increase shall be Two Thousand
Three Hundred Twenty One and 89/100 Dollars ($2,321.89) per month.

 3.     Paragraph 5 of the Lease is hereby amended by inserting the following: Lessee
 shall have the right to cancel this Lease at or any time after the thirty-sixth month of the
 First Amended Lease term by giving Lessor ninety (90) days prior written notice.

 4.     Paragraph 9(a) of the Lease is hereby amended by inserting the following:
 “Notwithstanding any provisions of this Lease to the contrary, Lessee at its sole option
 and approval, acting through the Chief Executive Office of the County of Los Angeles
 (CEO), may request from Lessor, without any obligation on the part of Lessor to accept
 said request, to perform, supply and administer repairs, maintenance and day porter
 services and reimburse Lessor for such additional costs as an additional rent.

 5.       The Lease is hereby amended by insertion of Paragraph 30:

        PREPARATION OF PREMISES FOR LEASE AMENDMENT NO. 1: Lessor will
 cause, at its sole cost and expense, to be constructed at the Premises interior
 improvements, to begin upon approval of this Lease and to be completed within one
 hundred eighty (180) days, unless there are delays caused by Lessee and/or its
 operations at the Building/Premises thereafter, as follows to the satisfaction of the
 Lessee:

 Improve the Premises per the plans attached hereto as Exhibit A of Amendment No. 1
 and dated 5/18/16, 9/11/1 5, and 9/1 0/1 5, to include but not limited to:

      • Build a 45-foot wall
      • Install three (3) doors with keycard readers
      • Upgrade lighting controls and relocate electrical outlets
      • Make adjustments to the HVAC system
      . Relocate fire sprinklers
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 The Premises and interior improvements shall meet all applicable City, County, State
 and Federal building codes, regulations and ordinances required for beneficial
 occupancy. Any work, including construction, that Lessor must undertake to obtain the
 necessary jurisdictional approvals for occupancy shall be at Lessor’s sole cost and
 expense.

 Should Lessor fail to comply, except if lack of performance is caused by Lessee, with
 completion of tenant improvements within the above-referenced 180-day period, County
 may perform such duties and subtract the cost of such tenant improvements from the
 monthly rent.

 6.     The Lease is hereby amended by insertion of Paragraph 31:

         COMPLIANCE WITH LAW: Lessee shall, at Lessee’s expense, comply promptly
 with all applicable statutes, ordinances, rules, regulations, orders and requirements in
 effect during the term hereof, regulating the use, occupancy or improvement of the
 Premises by Lessee. Lessor, not Lessee, shall, at its sole cost, at all times cause the
 Premises and the Building to comply with all applicable statutes, ordinances, rules,
 regulations, orders and requirements in effect and binding upon Lessee or Lessor
 during the term hereof, including without limitation the Americans with Disabilities Act, to
 the satisfaction of Lessee, except to the extent such compliance is made necessary as
 a result of Lessee’s particular use of or alterations or improvements to the Premises.

 7.     Only the Board of Supervisors has the authority, by formally approving and/or
 executing this Lease, to bind the County to the terms included herein. Lessor
 understands that no material terms of this Lease may be altered or deleted, nor may
 any new material terms be added to this Lease, without the express written approval of
 the Board of Supervisors, either through an amendment to the Lease or by other formal
 Board action. No County officer, employee, agent, or independent contractor has any
 authority to alter, add or delete the material terms of this Lease; and Lessor may not
 rely upon any representations to the contrary.

 8.     If there are any inconsistencies, variances or differences between any provision
 of the Lease and any provision of this Amendment No. 1, the provisions of this
 Amendment No. 1 will prevail and control. The Lease, as amended, is ratified,
 confirmed and approved. The terms “include” and “including” are not limiting and
 include the concept of “including but not limited to.”
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                                                                                                                       PROJECT DATA
                         TENA NT IMPROVEMENT
                          3216 ROSEMEAD BOULEVARD                                               4,?! ~ .4?1Nt?fl?t 4,?! 9-! (MI? P!49UCD(

                             EL MONTE, CA 91731

                                   A C0MME~CiAL PSOJECT F0P~



                                     9034 W. SUNSET BLVD
                                   WEST HOLLYWOOD. CA 90069

GENERAL NOTES                                 ABBRE VIA 77ONS               PROJECT DIRECTORY


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                   SYMBOLS                         SCOPE OF WORK       VICINITY MAP                                    SHEET INDEX

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             =                                 DEFERRED APPROVAL
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         MANUFACTURING     AREA




                                                                                                   Him,:

                                                                                              Rosemeari Springs
                                                                                              Pr4tHA4d,ii~.




                                                                                              Hi.mt~ *.i(     t’Hii~i4t7 Cb~i~,



                                                   PARCEL

                                        F                        & Ii    C                    SITE PLAN
                                            IEEE   CREST    OF      2)



FOR REFERENCE ONLY                                                                            Sm! Er A355!R

                                                                                                           AWl
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          2




                                                                    Door Type A
                                                                (VISION LITE DOOR)                      Rosemead Springs
                                                                                                        P~d~




                                                                                                        Shetl D.wIntIofl
                                               2,   SECONDL~~


                                                                                                        FLOOR PLAN
                                                                                - — - $~tONQLF2~L   4

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